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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 GEOCOMPLY SOLUTIONS INC.,                       )
                                                 )
                       Plaintiff,                )
                                                 )
        v.                                       )   C.A. No. 22-1273 (WCB)
                                                 )
 XPOINT SERVICES LLC,                            )
                                                 )
                       Defendant.                )

                          XPOINT SERVICES LLC’S
             MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 12(b)(6)

       Pursuant to Federal Rule of Civil Procedure 12(b)(6), Defendant Xpoint Services LLC

moves to dismiss Plaintiff GeoComply Solutions Inc.’s complaint for failure to state a claim upon

which relief can be granted. The grounds for this motion are more fully set forth in Defendant’s

opening brief, filed herewith. A proposed form of Order is attached.
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November 21, 2022




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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 GEOCOMPLY SOLUTIONS INC.,                     )
                                               )
                       Plaintiff,              )
                                               )
        v.                                     )   C.A. No. 22-1273 (WCB)
                                               )
 XPOINT SERVICES LLC,                          )
                                               )
                       Defendant.              )

                                    [PROPOSED] ORDER



       This _______ day of ________________ , 20____ , the Court having considered

Defendant Xpoint Services LLC’s Motion to Dismiss Pursuant to Fed. R. Civ. P. 12(b)(6),

       IT IS HEREBY ORDERED that Plaintiff GeoComply Solutions Inc.’s complaint (D.I. 1)

is dismissed with prejudice.




                                           The Honorable William C. Bryson
                                           Circuit Judge
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                                CERTIFICATE OF SERVICE

       I hereby certify that on November 21, 2022, I caused the foregoing to be electronically

filed with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

registered participants.

       I further certify that I caused copies of the foregoing document to be served on

November 21, 2022, upon the following in the manner indicated:

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